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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
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7
8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )   Case No. 2:12-cr-185 TLN
                                                    )
11                              Plaintiff,          )   STIPULATION AND ORDER TO CONTINUE
                                                    )   STATUS CONFERENCE TO MARCH 12,
12          v.                                      )   2015, AT 9:30 A.M.
                                                    )
13   ROBB CHEAL,                                    )   Date: January 15, 2015
     RYAN CHEAL,                                    )   Time: 9:30 a.m.
14   ROBERT CARRILLO,                               )   Judge: Hon. Troy L. Nunley
                                                    )
15                              Defendants.         )
                                                    )
16
17             The parties stipulate, through respective counsel, that the Court should continue the status
18   conference set for January 15, 2015, at 9:30 a.m., to March 12, 2015, at 9:30 a.m.
19             Defense counsel require the continuance to consult with their clients about discovery, and
20   to conduct investigation. Defense counsel also require further time to meet and consult with
21   each other. Finally defense counsel require further time to meet and confer with their clients
22   regarding plea agreements that the government has proposed, and propose counter offers to the
23   government. Additionally, counsel for Ryan Cheal and Robert Carrillo each have unrelated trial
24   commitments in other courts.
25             Counsel and the defendants agree that the Court should exclude the time from today
26   through March 12, 2015, when it computes the time within which trial must commence under the
27   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
28

      Stipulation to Continue                           -1-                                       12-185 TLN
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1              Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.

4    DATED: January 13, 2015                        HEATHER E. WILLIAMS
                                                    Federal Defender
5
                                                    /s/ M.Petrik__________
6                                                   MICHAEL PETRIK, Jr.
7                                                   Assistant Federal Defender
                                                    Attorneys for Robb Cheal
8
9    DATED: January 13, 2015
10
                                                    /s/ M.Petrik for_______
11                                                  CHRIS COSCA
                                                    Attorney for Ryan Cheal
12
13   DATED: January 13, 2015
14
                                                    /s/ M.Petrik for_______
15                                                  OLAF HEDBERG
                                                    Attorney for Robert Carrillo
16
17   DATED: January 13, 2015                        BENJAMIN B. WAGNER
18                                                  United States Attorney

19                                                  /s/ M.Petrik for_______
                                                    JASON HITT
20                                                  Assistant U.S. Attorney
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      Stipulation to Continue                         -2-                                       12-185 TLN
      Case 2:12-cr-00185-TLN Document 127 Filed 01/13/15 Page 3 of 3


1                                                 ORDER
2              The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial.
8              The Court orders the status conference rescheduled for March 12, 2015, at 9:30 a.m. The
9    Court orders the time from the date of the parties stipulation, up to and including March 12,
10   2015, excluded from computation of time within which the trial of this case must commence
11   under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
12   DATED: January 13, 2015
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14
15                                                             Troy L. Nunley
                                                               United States District Judge
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      Stipulation to Continue                          -3-                                       12-185 TLN
